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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:

Barry Clifford Alderman and                            Case No. 17-66980-sms
Kim Rampley Alderman,                                  Chapter 13

         Debtors.
                                            /


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         PLEASE TAKE NOTICE, that the undersigned counsel hereby enters their appearance

on behalf of, Wilmington Savings Fund Society, FSB, doing business as Christiana Trust, not in

its individual capacity, but solely as trustee for BCAT 2015-14BTT, a secured creditor in

connection with property located at 903 Whistler Lane, Canton, GA 30114 with loan number

XXX-7988 in the above-captioned proceeding, and requests that all matters which must be

noticed to creditors, any creditors' committees, and any other parties-in-interest pursuant to Fed.

R. Bankr. P. 2002, whether sent by the Court, the Debtors, or any other party in the case, be sent

to the undersigned; and pursuant to Fed. R. Bankr. P. 2002(g), requests that the following be

added to the Court's master mailing list:

                                  C. Brent Wardrop, Esq.
                            Quintairos, Prieto, Wood & Boyer, PA
                                   10902 Crabapple Road
                                   Roswell, Georgia 30075

         Dated: September 1, 2018

                                                Respectfully submitted,

                                                /s / C. Brent Wardrop
                                                C. Brent Wardrop, Esq.
                                                GA Bar No. 553733
                                                Quintairos, Prieto, Wood & Boyer, P.A.
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                                            10902 Crabapple Road
                                            Roswell, Georgia 30075
                                            Phone: (770) 650-8737
                                            Fax: (770) 650-8797
                                            brent.wardrop@qpwblaw.com



                               CERTIFICATE OF SERVICE

        I certify that I have caused to be served a copy of the foregoing Notice of Appearance
and Request for Notice, by first class mail, postage prepaid or by CM/ECF electronic filing upon
the parties listed below on this day.

Dated: September 1, 2018                    /s / C. Brent Wardrop
                                            C. Brent Wardrop, Esq
                                            GA. Bar. No. 553733

Copies Furnished To:

Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339
(404) 800-4001
Fax : 888-259-6137
Email: se@myatllaw.com

Trustee
Mary Ida Townson
Chapter 13 Trustee
Suite 2200
191 Peachtree Street, NE
Atlanta, GA 30303-1740

Barry Clifford Alderman and
Kim Rampley Alderman
903 Whistler Lane
Canton, GA 30114
